              9:22-cv-00940-JD-MHC            Date Filed 03/22/22        Entry Number 1-2            Page 1 of 21
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                            sou"m a<ROLINA DEPARTMENT OF CORRECTIONS
                                           INMATE GRIEVANCE :tolu{

~ h,b1t ~: .1 (l f J. I                                   STEP 1        REC£1VED U~f~H. SC




STATEMENT OF GRIEVANCE (Indicate the date of incident, and if the gdevance ia a challenge to SCDC Policy, specify
which policy. Include supporting documentadon and attach answered RTSM or Kiosk reference number.)




                                                                               Grievant Signature                   Date




ACTION TAXEN BY IGC:                PROCESSED            O   UNPROCESSED             O    OTHER

                                     See Warden's Decision


                                                                                                                    Date
                                                 (CONTINUE ON REVERSE SIDE)
SCDC 10-5 (Rev. October 2013)
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                                          REQUEST To sTAFF MEMBER
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SCDC FORM    19-11 (REV.FEB 2001)
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                                  REQUEST TO STAFF MEMBER



INMATE'S NAME:                                                 SCDC #:
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                        Exli.bJ   A-: l, c( di
                              SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                         OFFICE OF GENERAL COUNSEL-INMATE GRIEVANCE BRANCH
                                       INMATE CORRESPONDENCE


    INMATE: .                Sterling Singleton #339777

    INSTITU ION:             Broad River CI- S-0148-A
                    I
                    I

    FROM:           !        Inmate Grievance Branch

                             Correspondence received 7 /9/19

    DATE:                     July 10, 2019

           I , in receipt of your inmate correspondence/Request to Staff Member. Your correspondence is being
    returned id laccordance to SCDC Policy, GA-06.04, Request to Staff Member and returned to you for one or
    more of th~ following reasons:

     o    him•\~must use the correct form (Request to StaffMember SCDC 19-11). Attachments will NOT be
       accep ed.
             1
    o Inmat~s are only allowed to submit one issue per RTSM, which must be written legibly (to the appropriate
             1
       area) abd must be limited to a single sheet.
    o Inmat~s are prohibited from sending a duplicate or similar RTSM to multiple staff members.
    o The ~ if'SM is intended for use by an individual inmate (An inmate may not send a RTSM from multiple
       .
       mma      Is.
                  )
    o You JLst enter your concerns through the KIOSK Automated Request to Staff Member System (if access
       is all9yed).
    o Your ~Fquest for a transfer should be directed to SCDC Classification Case Worker/Manager.
    o Your lliedical issues can be addressed by requesting sick calls at your local institution.
    o State ~e issue that is a problem so that it can be fully addressed.
    o Pleas~llrefrain from sending multiple RTSMs addressed to multiple areas. We only review Grievance
       .      II
       issues.
    o Grievrieces MUST be placed in the box marked "Grievance" at your local institution.
    o Othen!IPlease review policy GA-06.04, Request To Staff Member, and GA-01.12, Inmate Grievance
       Syst9t, to familiarize yourself with the correct procedures.
   ,~Othefti Grievance LEECl-0826-18, -fded 8/29/18, was received 9/21/18 and closed due to "Exceeded
   "'" Timetrame". It was then reopened by Inmate Grievance Branch Chief and sent to Police Services
       on lOY:~4/18 for review. Grievance KCI-0367-19 filed 4/11/19, was received 4/22/19 and fonvarded to
       Polic~!Services on 4/24/19 for review. As of this writing, Police Services is still reviewing these two
       griev ,nces. You will be notified when a decision is rendered. I hope this addressed your concerns.


                                                           St~vl_             1EB£leQ
                                                           Felecia McKie, Inmaterievance Ailministrator




Revised 1110/ l 8
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              9:22-cv-00940-JD-MHC     Date Filed 03/22/22   Entry Number 1-2           Page 7 of 21
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                        SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                REQUEST TO STAFF l.\,ffi~ER

  TO: Nl'\ME:                        TITLE:


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                 9:22-cv-00940-JD-MHC                   Date Filed 03/22/22               Entry Number 1-2                Page 8 of 21



                                                  Inmate Request - General
   ay's Date: 8/16719 15:21

 ame:
 ooklng #:
              '1         SINGLETON, STERLING
                         339777
 ermanent#:              339777
 eference #: i    I      19-01344877
Date Requested:          08/09/19 10:33
             I I
 equest Typit:           Legal
Requested   Bl           Paper Form

                         I am requesting to know whether any of the High Level Behavior Management Staff to include but not limited to: 1)
                         Former Dir. Tishea lnabrut {sp) 2) Shanon Dean 3} Shawn Stover 4) Anthony Berry 5) William Gill/ Security Staff:
                         1) Lt Pressly 2) Sgt. Edward Gadson 3) Sgt. Myers 4) Ofc. Brannen etc. ever been investigated for or involved in
                         any criminal acts to include but not limited to C ivil Rights Violations of institutionalized persons; the potential
                         investigation & / or contributions to such even more so where a prisoner had been harmed? Had any been named
                         as defendants in ay criminal / civil actions & / or ever called as witnessed to such? Had any RTSM fom,s & / or
                         Grievances ever been filed on the above regarding SCDC Policy, Const. Law violations? If so slate which and
                         please forward any & all info regarding citations/ case laws naming & / or involving the above to also include
                         dispositions of said RTSMs Grievances, Investigations criminal & / or Civil Law violations. Thanking you in advance
                         for your assistance Sterling Singleton
 isposition: ,.      I   Complete
 fficer:         1       Cheron Hess
 isposi1ion Date:        08/16/19 16:17
 Request Responses
 Date
 08116/19 16:21
                     I    Author
                          c06378.5
                                           Note
                                           Inmate Singleton:
                                                                                                                                                          ,,
                                           Per SCDC Policy GA-01.07 Access to the General Counsel Section 1,3, the General Counsel and his staff are
                                           not responsible for providing legal assistance or advice to inmates. To seek legal advice, you may wish to
                                           contact your attorney or. if you do not have an attorney, the South Carolina Bar's Lawyer Referral Services,
                                           950 Taylor Street. Columbia, SC 29201. Under no circumstances will the Office of General Counsel conduct
                                           le al research for or provide legal advice to you.




Inmate Requ~st - General                                                                                                                  Page 1 of 1
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                     SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                             REQUESTTOSTAFFl\fEMBER
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                                                      Inmate Request - General
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ame:                         SINGLETON, STERLING
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coking#:                     339777
ennanent#1                   339777
eference #: ,1!              19-□ 1344850
ate Requested:               08/09/19 10:28
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equest Type"                 Investigations
           11
equested B¥l                 Paper Form
                             I am requesting that all camera footage from High Level Behavior Management Program located at Kirkland Cl -
                             between the months of Dec. 1 2018 - May 1. 2019 be preserved as evidence. Thanking you 1n advance for your
                             time patience & assistance. Sterling $Ingleton • I'd requested such be done before. but never received any
                             responses.
ispositlon:                  Complete
fficer:                      Cheron Hess
isposltlon Date:             08/19/19 14: 12
 Request Responses
 Date             J           Author           Note
 08/19/19 14:13               c062844          You need to be more specific in your request.




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Inmate Request - General                                                                                                         Page 1 of 1
           9:22-cv-00940-JD-MHC       Date Filed 03/22/22   Entry Number 1-2   Page 12 of 21
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            9:22-cv-00940-JD-MHC            Date Filed 03/22/22   Entry Number 1-2   Page 13 of 21
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INMATE' NAME:
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DISPOSITf N BY STAFF MEMBER:


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DATE:                                  SIGNATURE:


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INMATE    Is NAME:                                           SCDC #:
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 DATE:                            SIGNATURE:


SCOC FORM :r·l 1 (REV.FEB 2001)
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           9:22-cv-00940-JD-MHC                    Date Filed 03/22/22         Entry Number 1-2      Page 15 of 21

                                  SOUTH CAR \.___                   RTMENT OF CORRECTIONS
                                          REQ_ ~~ 'i                STAFF MEMBER
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            9:22-cv-00940-JD-MHC                   Date Filed 03/22/22                  Entry Number 1-2            Page 16 of 21



                I                             Inmate Request - General
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 ame:                SINGLETON, STERLING
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 ooking #:           339777
 ennanent#·          339777
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 eference #: ,I      20-01651410
 ate Requested:      07/31/20 14:48
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 equest Type:        Investigations
            II
Requested Bv:        Paper Form
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 equest Details:     Inmate states there is no treatment available to assist with his mental rehabilitation, but is expected to gel better and
                     rehabilitate to the standards of "normal society." He sites a case that indicates more than isolation and close
                     supervision is necessary to assess and treat for the rehab of prisoners with serious mental health illnesses. He lists
                     the types of serious mental illnesses and states he suffers from them. He states had he been properly evaluated he
                     would not have been sent to a certain Institution where someone may have to fight to defend himself and possibly
                     get into trouble due to lack of Security. He states he has been stabbed 6-7 times by certain inmates. He does not
                     want to be blamed for the deficiencies of other inmates or staff. He states the blame should be placed where the
                     system fails. He states in addition his history is a reflection cf his isolation. All the above in violation 8th & 14th
                     Amendment of US Constitution "Right to be freed from cruel and unusual punishment & equal protection of the law"
                     also Article 1 & 5 of SC Constitution reflecting the same.
 isposition:         Complete
 fflcer:             Lisa Eklund
 lsposition Date:    08/13/20 13:21
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 ~equestResponses
 Date                 Author           Note
 08113/20 13:24       c062844          This Is still an open case, contact your Institution for the other issues.




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Inmate Req_uest - General                                                                                                         Page 7 of 7
                           9:22-cv-00940-JD-MHC                   Date Filed 03/22/22                                Entry Number 1-2                                                             Page 17 of 21


                                             SOUTH CAROLL:·'i·A DEP,.!1,RP,fE>;T OF CORREC'Tfl'.\S
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             9:22-cv-00940-JD-MHC                   Date Filed 03/22/22               Entry Number 1-2           Page 18 of 21




                                                  Inmate Request - General

                                                                                              1, ct JJ
                      /13/20 12:29

                         SINGLETON, STERLING                         ~ih,loi f Ai
                         339777
                         339777
 eference #: !J          20-01661659
 ate Requested:          08/13/20 13:25
             !I
 equest Type:            Investigations
             !I
Requested B¥i:           Paper Form
 equest Detij.l)s:       I am still awaiting response regarding 2 incidents where I was stabbed. I have no access to the courts.
                         Complete
                         Lisa Craft
                         08/13/20 13:25

  Request Responses
  Date                    Author           Note
  08/13/20 13:27          c062844         This case is still open. Your prevlouse RTSM was responded to.
                  '




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Inmate Request - General
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                9:22-cv-00940-JD-MHC          Date Filed 03/22/22   Entry Number 1-2     Page 19 of 21
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                                   SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                           REQUEST TO STAFF MEMBER

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     DISPOSITION BY STAFF MEMBER:




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                                 SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                    I                    REQUEST TO STAFF MEMBER
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 TO: S.TAFF NAME:                               STAFF TITLE:
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            tJI-erhr7, 31,. r tfcl!                                                    33r:;-rt)
 INSTJT'UTION:'                   J      DORM/SlDE/BED:                       HOUSING TYPE: □ RHU □ R&E
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 REASON FOR PAPER REQUEST: :::J PRE..\                       ~   ~IEDlC.-\L::J :-V!ENTAL HEALTH O DENTAL
 u MEDlC.-\L COPAY □ ;\:IED!CAL RECORDS                      □    KIOSK INACCESSIBLE (EXPLAIN):     t,./ / ,1-
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SCDC FORM 19-11 (REV.JULY 2020)
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                              SOUTH CAROLINA DEPARTMENT OF CORRECTIONS
                                       INMATE GRIEVANCE FORM
                                               STEP 2                 Office Use Only

                                                                                               Grievance No. ¥--C,,\- ,;3Lp.7 - \.:::'.\
                                                                                               Code: General .....0.........\....1)~1~)_i\.____ __
                                                                                                      Policy _ _ _ _ _ _ __
                                                                                                      Disc. Hear. _ _ _ _ __
                                                                                                      Class _ _ _ _ _ _ __
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                                                                                                         lGC Initials:~~~'
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HOUSING UNIT: _ __i._:..i....:....,~----------------
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                                          INMATE GR!EVANCE
WORK ASSIGNMENT:_N----.L-/'-'-It_ _
                                  _,_ _ _ _ _ _ _ _ _ __


INMATE'S REASON FOR APPEAL (state specific dissatisfaction):




                                                      Grievant Signature __________
RESPONSTBLE OFFICIAL'S DECISION AND REASON:
I have reviewed your concern. You allege while in your cell you were stabbed three times in your left ann, three times in your left
5houIder/back, once in your lower back, and once in your head on April 6. 20 19. You state that you have stitches in your shoulder and
back. You request all relevant SCDC personnel be held responsible and tenninated for failing to protect you. The Warden responded to
your concern on December 9, 2021. Due to the nature of your grievance, agency procedures provide those grievances alleging criminal
activity are forward to the Office of Investigations and Intelligence for review and when appropriate investigation. An investigation
into this incident revealed a mutual fight occurred between you and another inmate. The Agency does not condone the behavior
exhibited in this grievance. All inmates must adhere to SCDC policies, procedures, and directives to ensure a safe environment for all.
You have not shown that SCDC Staff has failed to perform their duties appropriately.

Therefore, your grievance is denied.

You may appeal this decision under the Administrative Procedures Act. In order to appeal, you must fill out the attached
Notice of Appeal Form and submit it as instructed on the form within JO days of receipt.




                                       Responsible Official Signatur~               ~ ~                           Date 3.., I - 2-,z.._
The decision rendered by the responsible official exhausts the appeal process of the Inmate Grievance Procedure.
he · y acknowledg eceipt of the official's response and understand this is the Agency's final response to this matter.



                                                                                IGC Signature                                        Date

                                               (SH RE\"ERS[ smE FOR l i\STRUCTIONS)
